                            Case 2:25-mj-00261-EJY                      Document 1-1             Filed 03/27/25         Page 1 of 1
                                                                                                                                    PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO.              2:25-mj-00261-EJY

Matter Sealed:             Juvenile            Other than Juvenile                     USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                            Paul Hyon Kim
                                                                                   Defendant:
                                      Indictment         Charges/Counts Added
                                      Information
Name of District Court, and/or Judge/Magistrate Location (City)                    Address:

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
            NEW MEXICO                          Divisional Office

                                      Jacob Operskalski
Name and Office of Person
Furnishing Information on               U.S. Atty    Other U.S. Agency
THIS FORM                             Phone No. (702) 388-6336                               Interpreter Required    Dialect:
 Name of Asst.
 U.S. Attorney         Jacob Operskalski
 (if assigned)                                                                       Birth                                  ✔ Male                 Alien
                                                                                     Date                                        Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 STEVEN ARTHUR BAXTER - FBI                                                          Social Security Number

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                     DEFENDANT


                                                                                   Issue:        ✔ Warrant            Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                   Location Status:
                                                                                   Arrest Date               or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were                                                   Currently in Federal Custody
           dismissed on motion of:
                                                                                      ✔      Currently in State Custody
               U.S. Atty      Defense                                                          ✔ Writ Required
                                                            SHOW
          this prosecution relates to a                   DOCKET NO.
                                                                                             Currently on bond
          pending case involving this same
          defendant. (Notice of Related                                                      Fugitive
          Case must still be filed with the
          Clerk.)
                                                           MAG. JUDGE
       prior proceedings or appearance(s)
                                                            CASE NO.
                                                                                   Defense Counsel (if any):
       before U.S. Magistrate Judge
       regarding this defendant were
       recorded under
                                                                                              FPD          CJA           RET'D
                                                                                                    Appointed on Target Letter
Place of    Nevada                                  CountyClark
offense

                                                                                            This report amends AO 257 previously submitted

      OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 2
    Set                 Title & Section/Offense Level                                       Description of Offense Charged                      Felony/Misd.
                                                                                                                                                 Count(s)
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                  Felony
1            26 U.S.C. § 5861(d)                                           Unlawful Possession of an Unregistered Firearm (Destructi              Misdemeanor
                                                                                                                                                  Felony
1            18 U.S.C. § 844(i)                                            Arson                                                                  Misdemeanor
                                                                                                                                                  Felony
                                                                                                                                                  Misdemeanor
                                                                                                                                                  Felony
                                                                                                                                                  Misdemeanor
                                                                                                                                                  Felony
                                                                                                                                                  Misdemeanor
             Submit                                     Go
